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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 FIREARMS POLICY COALITION, Inc.,

              Plaintiff,

       v.
                                                     No. 18-cv-3083 (DLF)
 WILLIAM P. BARR, Attorney General, et
 al.,

               Defendants.


                                         ORDER

      For the reasons stated in the accompanying memorandum opinion, it is

      ORDERED that the Defendants’ Motion to Dismiss the Second Amended Complaint,

Dkt. 46, is GRANTED.




                                                        ________________________
                                                        DABNEY L. FRIEDRICH
                                                        United States District Judge
October 31, 2019
